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 6
   Attorneys for Plaintiff,
 7
   Christopher Kastigar
 8
                            UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11
12 Christopher Kastigar,                   Case No.:

13                 Plaintiff,
14
          vs.                                     COMPLAINT
15
16 Experian Information Solutions, Inc., an
   Ohio corporation,                              JURY TRIAL DEMAND
17 E-Trade Financial Corporation, a
18 Delaware corporation,
   Citibank, N.A., a foreign corporation,
19 Ally Financial, Inc., f/k/a GMAC, a
20 Delaware corporation, and
   Webbank, a foreign corporation.
21
22                 Defendants.
23
24
25
26
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 1
 2        NOW COMES THE PLAINTIFF, CHRISTOPHER KASTIGAR, BY AND
 3 THROUGH COUNSEL, TRINETTE G. KENT, and for his Complaint against the
 4
   Defendants, pleads as follows:
 5
 6                                    JURISDICTION
 7
       1. Jurisdiction of this court arises under 15 U.S.C. §1681p.
 8
       2. This is an action brought by a consumer for violation of the Fair Credit
 9
10        Reporting Act (15 U.S.C. §1681 et seq. [hereinafter “FCRA”]).
11
12                                         VENUE
13
       3. The transactions and occurrences which give rise to this action occurred in the
14
15        City of El Segundo, Los Angeles County, California.

16     4. Venue is proper in the Central District of California, Western Division.
17
                                          PARTIES
18
19
       5. The Defendants to this lawsuit are:
20
21           a. Experian Information Solutions, Inc., (“Experian”), which is an Ohio

22              company that maintains a registered agent in Los Angeles County,
23
                California;
24
25           b. E-Trade Financial Corporation (“E-Trade”), which is a Delaware
26              corporation that maintains a registered agent in Sacramento County,
27
                California;
28
                                                2
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 1           c. Citibank, N.A. (“Citibank”), which is a foreign corporation and, upon
 2
                information and belief, maintains offices in Maryland;
 3
 4           d. Ally Financial, Inc., formerly known as GMAC (“GMAC”), which is a
 5              Delaware corporation that maintains its registered agent in Los Angeles,
 6
                California; and
 7
 8           e. Webbank (“Webbank”), which is a foreign corporation and, upon
 9
                information and belief, maintains offices in Utah.
10
11                            GENERAL ALLEGATIONS
12
       6. Defendants E*Trade, Citibank, GMAC, and Webbank have misreported their
13
14        respective trade lines on Plaintiff’s Experian credit file with recent “charged-
15
          off” language. The last time that Plaintiff made any payment on the following
16
17        trade lines (“Errant Trade Lines”) was in 2008. These Errant Trade Lines are as

18        follows:
19
             a. E*Trade, Account Number: 790379400046….;
20
21           b. Home Depot/Citibank, Account Number: 603532026615….;
22           c. GMAC, Account Number: 06190620….;
23
             d. Webbank/DFS, Account Number: 687945012903837….; and
24
25           e. Citi Cards/Citibank, Account Number: 546616010122….
26
27
28
                                               3
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 1     7. Sometime around May of 2014, Mr. Kastigar obtained his Experian credit file
 2
          and noticed that E*Trade, Citibank, GMAC, and Webbank were inaccurately
 3
 4        reporting recent “charged-off “ language on each Errant Trade Line.
 5     8. At this time in May of 2014, Mr. Kastigar submitted a letter to Experian,
 6
          disputing the recent “charged-off” language on the Errant Trade Lines.
 7
 8     9. Upon information and belief, Defendant Experian transmitted Mr. Kastigar’s
 9
          consumer dispute to E*Trade, Citibank, GMAC, and Webbank.
10
11     10.In June of 2014, Mr. Kastigar received Experian’s investigation results, which

12        showed that the Errant Trade Lines were recently charged off.
13
       11.In June of 2014, Mr. Kastigar submitted another letter to Experian, disputing
14
15        the Errant Trade Lines.
16     12.Upon information and belief, Defendant Experian transmitted Mr. Kastigar’s
17
          consumer dispute to E*Trade, Citibank, GMAC, and Webbank.
18
19     13.In August of 2014, Mr. Kastigar received Experian’s investigation results,
20
          which again showed the Errant Trade Lines were recently charged off.
21
       14.In November of 2014, Mr. Kastigar submitted a third letter to Experian,
22
23        disputing the Errant Trade Lines.
24
       15.Upon information and belief, Defendant Experian transmitted Mr. Kastigar’s
25
26        consumer dispute to E*Trade, Citibank, GMAC, and Webbank.

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 1
 2
       16.On or about December 29, 2014, Mr. Kastigar received Experian’s
 3
          reinvestigation results, which showed that E*Trade, Citibank, GMAC, and
 4
 5        Webbank continued to report the Errant Trade Lines with recent “charged-off”
 6
          language.
 7
 8     17.On or about January 29, 2015, Mr. Kastigar submitted a fourth letter to

 9        Experian, disputing the recent “charged-off” language on the Errant Trade
10
          Lines.
11
12     18.Upon information and belief, Defendant Experian transmitted Mr. Kastigar’s
13        consumer dispute to E*Trade, Citibank, GMAC, and Webbank.
14
       19.On or about February 12, 2015, Mr. Kastigar submitted a fifth letter to
15
16        Experian, disputing the recent “charged-off” language on the Errant Trade
17
          Lines.
18
19     20.Upon information and belief, Defendant Experian transmitted Mr. Kastigar’s

20        consumer dispute to E*Trade, Citibank, GMAC, and Webbank.
21
       21.On or about February 26, 2015, Mr. Kastigar received Experian’s
22
23        reinvestigation results, which showed that the Errant Trade Lines were charged-
24        off several years after Mr. Kastigar’s last payment in 2008.
25
26
27
28
                                              5
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 1
 2                                        COUNT I
 3     NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
 4                         BY E-TRADE
 5     22.Plaintiff realleges the above paragraphs as if recited verbatim.
 6
       23.After being informed by Experian of Mr. Kastigar’s consumer disputes to the
 7
 8        Errant Trade Line, E-Trade negligently failed to conduct a proper
 9
          reinvestigation of Mr. Kastigar’s disputes as required by 15 USC 1681s-2(b).
10
11     24.E-Trade negligently failed to review all relevant information available to it and

12        provided by Experian in conducting its reinvestigation as required by 15 USC
13
          1681s-2(b). Specifically, it failed to direct Experian to remove the recent
14
15        “charged-off” language from the Errant Trade Line.
16     25.The Errant Trade Line is inaccurate and creates a misleading impression on Mr.
17
          Kastigar’s consumer credit file with Experian to which it is reporting such trade
18
19        line.
20
       26.As a direct and proximate cause of E-Trade’s negligent failure to perform its
21
          duties under the FCRA, Mr. Kastigar has suffered damages, mental anguish,
22
23        suffering, humiliation, and embarrassment.
24
       27.E-Trade is liable to Mr. Kastigar by reason of its violations of the FCRA in an
25
26        amount to be determined by the trier fact together with reasonable attorneys’

27        fees pursuant to 15 USC 1681o.
28
                                               6
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 1      28.Mr. Kastigar has a private right of action to assert claims against E-Trade
 2
           arising under 15 USC 1681s-2(b).
 3
 4
 5         WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment
 6
     against E-Trade for damages, costs, interest, and attorneys’ fees.
 7
 8                                         COUNT II
 9
          WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
10                           BY E-TRADE
11
        29.Plaintiff realleges the above paragraphs as if recited verbatim.
12
13      30.After being informed by Experian that Mr. Kastigar disputed the accuracy of

14         the information it was providing, E-Trade willfully failed to conduct a proper
15
           reinvestigation of Mr. Kastigar’s dispute.
16
17      31.E-Trade willfully failed to review all relevant information available to it and
18         provided by Experian as required by 15 USC 1681s-2(b).
19
        32.As a direct and proximate cause of E-Trade’s willful failure to perform its
20
21         respective duties under the FCRA, Mr. Kastigar has suffered damages, mental
22
           anguish, suffering, humiliation, and embarrassment.
23
24      33.E-Trade is liable to Mr. Kastigar for either statutory damages or actual damages

25         he has sustained by reason of its violations of the FCRA in an amount to be
26
           determined by the trier fact, together with an award of punitive damages in the
27
28
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 1         amount to be determined by the trier of fact, as well as for reasonable attorneys’
 2
           fees and he may recover therefore pursuant to 15 USC 1681n.
 3
 4
 5         WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment
 6
     against E-Trade for the greater of statutory or actual damages, plus punitive damages,
 7
 8 along with costs, interest, and attorneys’ fees.
 9
10                                        COUNT III
11
        NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
12                          BY CITIBANK
13
        34.Plaintiff realleges the above paragraphs as if recited verbatim.
14
15      35.After being informed by Experian of Mr. Kastigar’s consumer disputes to the
16         Errant Trade Line, Citibank negligently failed to conduct a proper
17
           reinvestigation of Mr. Kastigar’s disputes as required by 15 USC 1681s-2(b).
18
19      36.Citibank negligently failed to review all relevant information available to it and
20
           provided by Experian in conducting its reinvestigation as required by 15 USC
21
           1681s-2(b). Specifically, it failed to direct Experian to remove the recent
22
23         “charged-off” language on both Errant Trade Lines.
24
        37.The Errant Trade Lines are inaccurate and create a misleading impression on
25
26         Mr. Kastigar’s consumer credit file with Experian to which it is reporting such

27         trade line.
28
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 1     38.As a direct and proximate cause of Citibank’s negligent failure to perform its
 2
           duties under the FCRA, Mr. Kastigar has suffered damages, mental anguish,
 3
 4         suffering, humiliation, and embarrassment.
 5     39.Citibank is liable to Mr. Kastigar by reason of its violations of the FCRA in an
 6
           amount to be determined by the trier fact together with reasonable attorneys’
 7
 8         fees pursuant to 15 USC 1681o.
 9
       40.Mr. Kastigar has a private right of action to assert claims against Citibank
10
11         arising under 15 USC 1681s-2(b).

12
13
           WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment
14
15 against Citibank for damages, costs, interest, and attorneys’ fees.
16                                        COUNT IV
17
          WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
18                           BY CITIBANK
19
       41.Plaintiff realleges the above paragraphs as if recited verbatim.
20
21     42.After being informed by Experian that Mr. Kastigar disputed the accuracy of
22
           the information it was providing, Citibank willfully failed to conduct a proper
23
24         reinvestigation of Mr. Kastigar’s dispute.

25     43.Citibank willfully failed to review all relevant information available to it and
26
           provided by Experian as required by 15 USC 1681s-2(b).
27
28
                                                9
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  1      44.As a direct and proximate cause of Citibank’s willful failure to perform its
  2
            respective duties under the FCRA, Mr. Kastigar has suffered damages, mental
  3
  4         anguish, suffering, humiliation, and embarrassment.
  5      45.Citibank is liable to Mr. Kastigar for either statutory damages or actual damages
  6
            he has sustained by reason of its violations of the FCRA in an amount to be
  7
  8         determined by the trier fact, together with an award of punitive damages in the
  9
            amount to be determined by the trier of fact, as well as for reasonable attorneys’
 10
 11         fees and he may recover therefore pursuant to 15 USC 1681n.

 12
 13
            WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment
 14
 15 against Citibank for the greater of statutory or actual damages, plus punitive damages,
 16 along with costs, interest, and attorneys’ fees.
 17
 18                                         COUNT V
 19
         NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
 20                           BY GMAC
 21
         46.Plaintiff realleges the above paragraphs as if recited verbatim.
 22
 23      47.After being informed by Experian of Mr. Kastigar’s consumer disputes to the
 24         Errant Trade Line, GMAC negligently failed to conduct a proper reinvestigation
 25
            of Mr. Kastigar’s disputes as required by 15 USC 1681s-2(b).
 26
 27
 28
                                                 10
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  1      48.GMAC negligently failed to review all relevant information available to it and
  2
            provided by Experian in conducting its reinvestigation as required by 15 USC
  3
  4         1681s-2(b). Specifically, it failed to direct Experian to remove the recent
  5         “charged-off” language on the Errant Trade Line.
  6
         49.The Errant Trade Line is inaccurate and creates a misleading impression on Mr.
  7
  8         Kastigar’s consumer credit file with Experian to which it is reporting such trade
  9
            line.
 10
 11      50.As a direct and proximate cause of GMAC’s negligent failure to perform its

 12         duties under the FCRA, Mr. Kastigar has suffered damages, mental anguish,
 13
            suffering, humiliation, and embarrassment.
 14
 15      51.GMAC is liable to Mr. Kastigar by reason of its violations of the FCRA in an
 16         amount to be determined by the trier fact together with reasonable attorneys’
 17
            fees pursuant to 15 USC 1681o.
 18
 19      52.Mr. Kastigar has a private right of action to assert claims against GMAC arising
 20
            under 15 USC 1681s-2(b).
 21
 22
 23         WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment
 24
      against GMAC for damages, costs, interest, and attorneys’ fees.
 25
 26
 27
 28
                                                11
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  1                                        COUNT VI
  2
           WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
  3                             BY GMAC
  4
         53.Plaintiff realleges the above paragraphs as if recited verbatim.
  5
  6      54.After being informed by Experian that Mr. Kastigar disputed the accuracy of
  7
            the information it was providing, GMAC willfully failed to conduct a proper
  8
            reinvestigation of Mr. Kastigar’s dispute.
  9
 10      55.GMAC willfully failed to review all relevant information available to it and
 11
            provided by Experian as required by 15 USC 1681s-2(b).
 12
 13      56.As a direct and proximate cause of GMAC’s willful failure to perform its

 14         respective duties under the FCRA, Mr. Kastigar has suffered damages, mental
 15
            anguish, suffering, humiliation, and embarrassment.
 16
 17      57.GMAC is liable to Mr. Kastigar for either statutory damages or actual damages
 18         he has sustained by reason of its violations of the FCRA in an amount to be
 19
            determined by the trier fact, together with an award of punitive damages in the
 20
 21         amount to be determined by the trier of fact, as well as for reasonable attorneys’
 22
            fees and he may recover therefore pursuant to 15 USC 1681n.
 23
 24
 25         WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment
 26
      against GMAC for the greater of statutory or actual damages, plus punitive damages,
 27
 28 along with costs, interest, and attorneys’ fees.
                                                 12
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  1                                       COUNT VII
  2
        NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
  3                         BY WEBBANK
  4
        58.Plaintiff realleges the above paragraphs as if recited verbatim.
  5
  6     59.After being informed by Experian of Mr. Kastigar’s consumer disputes to the
  7
           Errant Trade Line, Webbank negligently failed to conduct a proper
  8
           reinvestigation of Mr. Kastigar’s disputes as required by 15 USC 1681s-2(b).
  9
 10     60.Webbank negligently failed to review all relevant information available to it
 11
           and provided by Experian in conducting its reinvestigation as required by 15
 12
 13        USC 1681s-2(b). Specifically, it failed to direct Experian to remove the recent

 14        “charged-off” language from the Errant Trade Line.
 15
        61.The Errant Trade Line is inaccurate and creates a misleading impression on Mr.
 16
 17        Kastigar’s consumer credit file with Experian to which it is reporting such trade
 18        line.
 19
        62.As a direct and proximate cause of Webbank’s negligent failure to perform its
 20
 21        duties under the FCRA, Mr. Kastigar has suffered damages, mental anguish,
 22
           suffering, humiliation, and embarrassment.
 23
 24     63.Webbank is liable to Mr. Kastigar by reason of its violations of the FCRA in an

 25        amount to be determined by the trier fact together with reasonable attorneys’
 26
           fees pursuant to 15 USC 1681o.
 27
 28
                                                13
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  1      64.Mr. Kastigar has a private right of action to assert claims against Webbank
  2
            arising under 15 USC 1681s-2(b).
  3
  4
  5         WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment
  6
      against Webbank for damages, costs, interest, and attorneys’ fees.
  7
  8                                       COUNT VIII
  9
           WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
 10                           BY WEBBANK
 11
         65.Plaintiff realleges the above paragraphs as if recited verbatim.
 12
 13      66.After being informed by Experian that Mr. Kastigar disputed the accuracy of

 14         the information it was providing, Webbank willfully failed to conduct a proper
 15
            reinvestigation of Mr. Kastigar’s dispute.
 16
 17      67.Webbank willfully failed to review all relevant information available to it and
 18         provided by Experian as required by 15 USC 1681s-2(b).
 19
         68.As a direct and proximate cause of Webbank’s willful failure to perform its
 20
 21         respective duties under the FCRA, Mr. Kastigar has suffered damages, mental
 22
            anguish, suffering, humiliation, and embarrassment.
 23
 24      69.Webbank is liable to Mr. Kastigar for either statutory damages or actual

 25         damages he has sustained by reason of its violations of the FCRA in an amount
 26
            to be determined by the trier fact, together with an award of punitive damages
 27
 28
                                                 14
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  1         in the amount to be determined by the trier of fact, as well as for reasonable
  2
            attorneys’ fees and he may recover therefore pursuant to 15 USC 1681n.
  3
  4
  5         WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment
  6
      against Webbank for the greater of statutory or actual damages, plus punitive
  7
  8 damages, along with costs, interest, and attorneys’ fees.
  9
                                           COUNT IX
 10
 11      NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                             BY EXPERIAN
 12
 13      70.Plaintiff realleges the above paragraphs as if recited verbatim.

 14      71.Defendant Experian prepared, compiled, issued, assembled, transferred,
 15
            published, and otherwise reproduced consumer reports regarding Mr. Kastigar
 16
 17         as that term is defined in 15 USC 1681a.
 18      72.Such reports contained information about Mr. Kastigar that was false,
 19
            misleading, and inaccurate.
 20
 21      73.Experian negligently failed to maintain and/or follow reasonable procedures to
 22
            assure maximum possible accuracy of the information it reported to one or
 23
 24         more third parties pertaining to Mr. Kastigar, in violation of 15 USC 1681e(b).

 25      74. After receiving Mr. Kastigar’s consumer disputes to the Errant Trade Lines,
 26
            Experian negligently failed to conduct a reasonable reinvestigation as required
 27
 28         by 15 U.S.C. 1681i.
                                                 15
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  1     75.As a direct and proximate cause of Experian’s negligent failure to perform its
  2
            duties under the FCRA, Mr. Kastigar has suffered actual damages, mental
  3
  4         anguish and suffering, humiliation, and embarrassment.
  5     76.Experian is liable to Mr. Kastigar by reason of its violation of the FCRA in an
  6
            amount to be determined by the trier fact together with his reasonable attorneys’
  7
  8         fees pursuant to 15 USC 1681o.
  9
 10
 11         WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment

 12 against Experian for actual damages, costs, interest, and attorneys’ fees.
 13
                                           COUNT X
 14
           WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
 15
                              BY EXPERIAN
 16
 17     77.Plaintiff realleges the above paragraphs as if recited verbatim.

 18     78.Defendant Experian prepared, compiled, issued, assembled, transferred,
 19
            published, and otherwise reproduced consumer reports regarding Mr. Kastigar
 20
 21         as that term is defined in 15 USC 1681a.
 22     79.Such reports contained information about Mr. Kastigar that was false,
 23
            misleading, and inaccurate.
 24
 25     80.Experian willfully failed to maintain and/or follow reasonable procedures to
 26
            assure maximum possible accuracy of the information that it reported to one or
 27
            more third parties pertaining to Mr. Kastigar, in violation of 15 USC 1681e(b).
 28
                                                16
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  1     81. After receiving Mr. Kastigar’s consumer disputes to the Errant Trade Lines,
  2
           Experian willfully failed to conduct a reasonable reinvestigation as required by
  3
  4        15 U.S.C. 1681i.
  5     82.As a direct and proximate cause of Experian’s willful failure to perform its
  6
           duties under the FCRA, Mr. Kastigar has suffered actual damages, mental
  7
  8        anguish and suffering, humiliation, and embarrassment.
  9
        83.Experian is liable to Mr. Kastigar by reason of its violations of the FCRA in an
 10
 11        amount to be determined by the trier of fact together with his reasonable

 12        attorneys’ fees pursuant to 15 USC 1681n.
 13
 14
 15        WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment
 16 against Experian for the greater of statutory or actual damages, plus punitive damages,
 17
    along with costs, interest, and attorneys’ fees.
 18
 19                                    JURY DEMAND
 20
           Plaintiff hereby demands a trial by Jury.
 21
 22
 23 DATED: May 13, 2015                    KENT LAW OFFICES
 24
 25
                                               By: /s/ Trinette G. Kent
 26
                                               Trinette G. Kent
 27                                            Attorneys for Plaintiff,
                                               Christopher Kastigar
 28
                                               17
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